    Case 19-29158-ABA                 Doc 13         Filed 06/08/20 Entered 06/08/20 15:11:12              Desc Main
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   UNITED STATES BANKRUPTCY COURT
   District of New Jersey

   Caption in Compliance with D.N.J. LBR 9004-1(b)


   Isabel C. Balboa, Esq.
                                                                                     Order Filed on June 8, 2020
   Chapter 13 Standing Trustee                                                       by Clerk
   Cherry Tree Corporate Center                                                      U.S. Bankruptcy Court
                                                                                     District of New Jersey
   535 Route 38, Suite 580
   Cherry Hill, NJ 08002-2977
   (856) 663-5002
                                                                   Case No.: 19-29158-ABA
   In re:

                                                                   Hearing Date: January 22, 2020 10:00 am
   BRYAN D. SHARP
                                                                   Judge: Andrew B. Altenburg, Jr.
   TAMMY R. SHARP

                                                                   Chapter: 13




                                                      ORDER OF DISMISSAL


            The relief set forth on the following pages numbered two (2) through two (2) is ORDERED.




DATED: June 8, 2020




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        THIS MATTER having come before the court for a hearing on confirmation of the debtor(s) Chapter
13 Plan or Modified Chapter 13 Plan and for good cause shown it is


        ORDERED that the the above captioned case is hereby dismissed for the following reason(s):


            •   failure to attend the Section 341(a) meeting

            •   failure to make all required pre-confirmation payments to the Trustee

            •   fees



        IT IS FURTHER ORDERED that pursuant to 11 U.S.C. §349(b) this Court, for cause, retains

        jurisdiction over any additional application filed within 30 days by any administrative claimant for funds

        on hand with the Chapter 13 Trustee.




        IT IS FURTHER ORDERED that the Debtor(s) attorney be and is hereby allowed a fee of $508.94
        to be paid from funds on hand with the Chapter 13 Trustee.



        IT IS FURTHER ORDERED that any Order to Employer to Pay to the Chapter 13 Trustee (wage
        order) that has been entered in this case is hereby terminated.       The employer is authorized to cease
        wage withholding immediately.         The debtor or debtor(s) counsel is hereby authorized to serve this
        Order upon the appropriate parties.




                                                                                                             Page 2 of 2
